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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

KENNEDY, 2-19CV-153-7

vat US. DISTRICT COURT ~
“ ‘NORTHERN DISTRICT OF TEXAS
FILED
O' CONNOR,
Defendants.

CLE

By RK, U.S. DISTRICT COURT
Deputy iH _|

MOTION TO COMPEL SERVICE OF PROC

I, Edward Thomas Kennedy, (hereinafter "Kennedy" or "Plaintiff") am one of the
people of Pennsylvania, and in this court of record wishes the court of record to grant this

Motion to Compel Service of Process to the DefendantS by the U.S. Marshall without delay.

Date: July 17, 2019.

Edward Thomas Kennedy
800 Court St., Apt 223
Reading, PA 19601
Phone: 415-275-1244,
pillarofpeace2012@gmail.com.

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